929 F.2d 694Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eugene THOMAS, Petitioner-Appellant,v.W.D. BLANKENSHIP, Warden, Attorney General of theCommonwealth of Virginia, Respondents-Appellees.
    No. 91-6253.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1991.Decided March 25, 1991.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-89-145-R)
      Eugene Thomas, appellant pro se.
      Katherine Baldwin Toone, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      W.D.Va.
      DISMISSED.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Eugene Thomas seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Thomas v. Blankenship, CA-89-145-R (W.D.Va. Oct. 29, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    